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                         UN ITED STA TES D ISTRICT CO U RT FOR TH E
                              SOU TH ERN D ISTRICT O F FLO RIDA
                                      Key W estDivision

                     C ase N um ber: IS-IOIO6-CIV-M AR TINE Z-G O O D M AN

  HO W A RD CO H AN ,

        Plaintiff,

  VS.

  SPAN ISH GA RD EN S, IN C. d/b/a SPAN ISH
  GARDEN S M OTEL,

        Defendant.
                                              /

                        O RDER ON NO TICE O F SETTLEM ENT AND
                       DENYING ALL PENDING M O TIONS AS M O OT

        THIS CAUSE cam ebeforetheCourtupon PlaintiffHoward Cohan'sN oticeof

  Settlement(ECF No.9),indicatingthatthepartieshavereached asettlementinthismatter.Itis
  hereby:

        ORDERED AND ADJUDGED asfollows:

               ThepartiesshalltsleeitheraNoticeofDismissal(iftheDtfendanthasnotserved
  ananswerormotion forsummaryjudgment)oraStipulationofDismissal(signedbya1lparties
  whohaveappeared inthisaction),which mustbefiledwiththeClerk oftheCourt,aproposed
  OrderofDism issalorFinalJudgment,and any otherdocumentsnecessarytoconcludethisaction

  on or before Aueust 11.2015.

               lfthe parties failto com ply w ith thisorder,the Courtshalldism issthis case

  withoutprejudicewithoutanyfurtherwarning.
               TheClerk isDIRECTED to DEN Y ALL PEN DING M OTION S AS M OOT.
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       4.     The Clerk shallA DM INISTR ATIVELY CLO SE thiscase forstatisticalpup oses

 only.Thisshallnotaffectthe substantiverightsoftheparties.

       boxE AND ORDERED inchambersatM ia . lorida,this               dayofJ ly,2015.
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                                                    JOS .M ART E
                                                    > 1 D STA TES D IST CT JU D GE

 Copiesprovided to:
 M agistrateJudgeGoodman
 A11CounselofRecord




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